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                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In Re: Free Speech Systems LLC                §              Case No. 22-60043
                                              §
                                              §
       Debtor                                 §              Chapter 11
                                              §


                NOTICE OF APPEARANCE AND REQUEST FOR NOTICE


       Stephen A. Roberts and the firm of Stephen A. Roberts, P.C. files this Notice Of

Appearance And Request For Notice.

       1.       Stephen A. Roberts and the firm of Stephen A. Roberts, P.C. have been retained by

David and Carol Jones, interested parties.

       2.       My mailing address and email address is:

                                             Stephen A. Roberts
                                           Stephen A. Roberts, PC
                                              1400 Marshall Ln
                                              Austin, TX 78703
                                        sroberts@srobertslawfirm.com

       3.       I request that I be included on the mailing matrix and be served with notice of all

matters and proceedings filed in the this bankruptcy case in accordance with applicable rules.

                                                             Respectfully Submitted:

                                                             /s/ Stephen A. Roberts
                                                             Stephen A. Roberts
                                                             Tx Bar Number 17019200
                                                             Stephen A. Roberts, PC
                                                             1400 Marshall Ln
                                                             Austin, TX 78703
                                                             (512) 431-7337
                                                             sroberts@srobertslawfirm.com

                                                             Counsel for David and Carol Jones


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                                 CERTIFICATE OF SERVICE
          This is to certify that a true and correct copy of foregoing pleading was filed on August
10, 2022 using the CM/ECF system which will send notification on all parties requesting such
notice. Additionally, within one business day thereafter, the pleadings will be served by U.S. postal
service upon the parties listed on the attached matrix.

                                                              /s/ Stephen A Roberts




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Label Matrix for local noticing               Free Speech Systems LLC             Texas Comptroller of Public Accounts, Revenu
0541-4                                        3019 Alvin Devane Blvd. STE 300     Christopher J. Dylla
Case 22-60043                                 Austin, TX 78741-7417               P.O. Box 12548
Southern District of Texas                                                        Austin, TX 78711-2548
Houston
Tue Aug 9 14:04:53 CDT 2022
US Trustee                                    4                                   ADP Total Source Insurance
Office of the US Trustee                      United States Bankruptcy Court      10200 Sunset Drive
515 Rusk Ave                                  PO Box 61010                        Miami, FL 33173-3033
Ste 3516                                      Houston, TX 77208-1010
Houston, TX 77002-2604

ADP TotalSource Payroll                       AT&T                                AWIO Web Services LLC
10200 Sunset Drive                            PO Box 5001                         6608 Truxton Ln
Miami, FL 33173-3033                          Carol Stream, IL 60197-5001         Raleigh, NC 27616-6694



Addshoppers, Inc                              Airco Mechanical, LTD               Alex E. Jones
222 S. Church Street , #410M                  PO Box 1598                         c/o Jordan & Ortiz, P.C.
Charlotte, NC 28202-3213                      Round Rock, TX 78680-1598           Attn: Shelby Jordan
                                                                                  500 North Shoreline Blvd, STE 900
                                                                                  Corpus Christi, TX 78401-0658

Alex Emeric Jones                             Ally Auto                           Amazon Marketplace
c/o Jordan & Ortiz, P.C.                      PO Box 9001948                      Amazon Payments, Inc.
Attention: Shelby Jordan                      Louisville, KY 40290-1948           410 Terry Ave N.
500 N. Shoreline Blvd., Suite 900                                                 Seattle, WA 98109-5210
Corpus Christi, TX 78401-0658

Amazon Web Services                           American Express                    American Media/Reality Zone
410 Terry Avenue North                        PO Box 650448                       PO Box 4646
Seattle, WA 98109-5210                        Dallas, TX 75265-0448               Thousand Oaks, CA 91359-1646



Andrews, Christopher                          Atomial, LLC                        Balcones Recycling Inc.
210 N. Beyer Stree                            1920 E. Riverside Drive             PO Box 679912
Marion, TX 78124-4014                         Suite A-120 #124                    Dallas, TX 75267-9916
                                              Austin, TX 78741-1350


Biodec, LLC                                   Blott, Jacquelyn                    Brennan Gilmore
901 S. Mopac Expressway, Building 4, Ste      200 University Boulevard            c/o Civil Rights Clinic
Austin, TX 78746-5776                         Suite 225 #251                      ATTN: Andrew Mendrala
                                              Round Rock TX 78665-1096            600 New Jersey Avenue, NW
                                                                                  Washington, DC 20001-2022

Campco                                        Carlee SotoParisi                   Carlos Soto
4625 W. Jefferson Blvd                        c/o Koskoff Koskoff & Bieder        c/o Koskoff Koskoff & Bieder
Los Angeles, CA 90016-4006                    350 Fairfield Ave                   350 Fairfield Ave
                                              Bridgeport, CT 06604-6014           Bridgeport, CT 06604-6014


Chelsea Green Publishing                      Christopher Sadowski                City of Austin
85 North Main Street Ste 120                  c/o Copycat Legal PLLC              PO Box 2267
White River Junction, VT 05001-7135           3111 N. University Drive Ste. 301   Austin, TX 78783-2267
                                              Coral Springs, FL 33065-5058
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Cloudflare, Inc                               Constant Contact, Inc.                CustomTattoNow.com
Dept LA 24609                                 1601 Trapelo Road                     16107 Kensington Dr #172
Pasadena, CA 91185-4609                       Watham, MA 02451-7357                 Sugar Land, TX 77479-4224



David Icke Books Limited                      Deese, Stetson                        DirectTV
c/o Ickonic Enterprises Limited               328 Greenland Blvd. #81               PO Box 5006
St. Helen’s House King Street                 Death Valley, CA 92328-9600           Carol Stream, IL 60197-5006
Derby DE1 3EE
United Kingdom

Dona Soto                                     EPS, LLC                              ERM Protect
c/o Koskoff Koskoff & Bieder                  17350 State Hwy 249, Ste 220, #4331   800 South Douglas Road, Suite 940N
350 Fairfield Ave                             Houston, TX 77064-1132                Coral Gables, FL 33134-3125
Bridgeport, CT 06604-6014


Edgecast, Inc.                                Elevated Solutions Group              Erica Lafferty
Dept CH 18120                                 28 Maplewood Drive                    c/o Koskoff Koskoff & Bieder
Palatine, IL 60055-0001                       Cos Cob, CT 06807-2601                350 Fairfield Ave
                                                                                    Bridgeport, CT 06604-6014


FW Robert Broadcasting Co                     Francine Wheeler                      Frost Insurance Agency
2730 Loumor Ave                               c/o Koskoff Koskoff & Bieder          401 Congress Avenue, 14th Floor
Metairie, LA 70001-5425                       350 Fairfield Ave                     Austin ,TX 78701-3793
                                              Bridgeport, CT 06604-6014


Gabriela Tolentino                            Getty Images, Inc                     Gracenote
5701 S Mopac Expy                             PO Box 953604                         29421 Network Place
Austin, TX 78749-1464                         St. Louis, MO 63195-3604              Chicago, IL 60673-1294



Greenair, Inc                                 Haivision Network Video               Ian Hockley
23569 Center Ridge Road                       Deot CH 19848                         c/o Koskoff Koskoff & Bieder
Westlake, OH 44145-3642                       Palatine, IL 60055-9848               350 Fairfield Ave
                                                                                    Bridgeport, CT 06604-6014


Impact Fire Services, LLC                     Independent Publishers Group          Iron Mountain, Inc
PO Box 735063                                 PO Box 2154                           PO Box 915004
Dallas, TX 75373-5063                         Bedford Park, IL 60499-2154           Dallas, TX 75391-5004



JCE SEO                                       JW JIB Productions, LLC               Jacqueline Barden
6101 Broadway                                 2921 Carvelle Drive                   c/o Koskoff Koskoff & Bieder
San Antonio, TX 78209-4561                    Riviera Beach, FL 33404-1855          350 Fairfield Ave
                                                                                    Bridgeport, CT 06604-6014


Jennifer Hensel                               Jeremy Richman                        Jillian Soto
c/o Koskoff Koskoff & Bieder                  c/o Koskoff Koskoff & Bieder          c/o Koskoff Koskoff & Bieder
350 Fairfield Ave                             350 Fairfield Ave                     350 Fairfield Ave
Bridgeport, CT 06604-6014                     Bridgeport, CT 06604-6014             Bridgeport, CT 06604-6014
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Justin Lair                                   KI4U.com                                (p)DE LAGE LANDEN FINANCIAL
1313 Lookout Ave                              212 Oil Patch Lane                      ATTN LITIGATION & RECOVERY
Klamath Falls, OR 97601-6533                  Gonzales, TX 78629-8028                 1111 OLD EAGLE SCHOOL ROAD
                                                                                      WAYNE PA 19087-1453


LIT Industrial                                Larry Klayman, Esq.                     Leonard Pozner
1717 McKinney Ave #1900                       7050 W. Palmetto Park Rd                c/o Kaster Lynch Farrar & Ball LLP
Dallas, TX 75202-1253                         Boca Raton, FL 33433-3426               1117 Herkimer
                                                                                      Houston, TX 77008-6745


Lincoln-Remi Group, LLC                       Logo It, LLC                            Lumen/Level 3 Communications
1200 Benstein Rd.                             820 Tivy Street                         PO Box 910182
Commerce Twp., MI 48390-2200                  Kerrville, TX 78028-3654                Denver, CO 80291-0182



MRJR Holdings, LLC                            MVD Entertainment Group                 Magento
PO Box 27740                                  203 Windsor Rd                          PO Box 204125
Las Vegas, NV 89126-7740                      Pottstown, PA 19464-3405                Dallas, TX 75320-4105



Marcel Fontaine                               Mark Barden                             Microsoft Bing Ads
c/o Kaster, Lynch, Farrar & Ball LLP          c/o Koskoff Koskoff & Bieder            c/o Microsoft Online, Inc.
1117 Herkimer                                 350 Fairfield Ave                       P.O. Box 847543
Houston, TX 77008-6745                        Bridgeport, CT 06604-6014               1950 N Stemmons Fwy, Ste 5010
                                                                                      Dallas, TX 75207-3199

Miller, Sean                                  Music Videos Distributors               Neil Heslin
PO Box 763                                    203 Windsor Rd                          c/o Kaster Lynch Farrar & Ball LLP
Wyalusing, PA 18853-0763                      Pottstown, PA 19464-3405                1117 Herkimer
                                                                                      Houston, TX 77008-6745


NetSuite Inc                                  New Relic                               Newegg.com
Bank of America Lockbox Services              188 Spear Street, Suite 1200            9997E. Rose Hills Road
Chicago, IL 60693-0001                        San Francisco, CA 94105-1752            Whittier, CA 90601



Nicole Hockley                                One Party America, LLC                  Orkin, Inc.
c/o Koskoff Koskoff & Bieder                  6700 Woodlands Parkway, Suite 230-309   5810 Trade Center Drive, Suite 300
350 Fairfield Ave                             The Woodlands, TX 77382-2575            Austin, TX 78744-1365
Bridgeport, CT 06604-6014


PQPR Holdings Limited, LLC                    Pattison Law Firm, P.C.                 Payarc
c/o Stephen Lemmon                            501 IH-35                               411 West Putnam Avenue, Ste 340
1801 S. Mopac Expressway                      Austin, TX 78702-3229                   Greenwich, CT 06830-6291
Suite 320
Austin, TX 78746-9817

Paymentus                                     Paz Law, LLC                            Percision Oxygen
18390 NE 68th St                              1021 Orange Center Road                 13807 Thermal Dr
Redmond, WA 98052-5057                        Orange, CT 06477-1216                   Austin, TX 78728-7735
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Perfect Imprints.com                          Perkins, Wes                                Pipe Hitters Union, LLC
709 Eglin Pkwy NE                             General Delivery                            PO Box 341194
Fort Walton Beach, FL 32547-2527              Lockhart, TX 78644-9999                     Austin, TX 78734-0020



Post Hill Press, LLC                          Poulsen, Debra                              Power Reviews, Inc.
8115 Isabella Lane, Ste. 4                    112 Eames St.                               1 N. Dearborn Street
Brentwood, TN 37027-9110                      Elkhorn, WI 53121-1228                      Chicago, IL 60602-4331



Precision Camera                              Private Jets, LLC                           Protection 1 Alarm
2438 W Anderson Ln                            1250 E. Hallandale Beach Blvd, Suite 505    PO Box 219044
Austin, TX 78757-1149                         Hallandale, FL 33009-4635                   Kansas City, MO 64121-9044



Public Storage                                Pullman & Comley, LLC                       Randazza Legal Group, PLLC
2301 E. Ben White Blvd                        850 Main Street                             2764 Lake Sahara Drive, Suite 109
Austin, TX 78741-7110                         Bridgeport, CT 06604-4988                   Las Vegas, NV 89117-3400



RatsMedical.com                               Ready Alliance Group, Inc                   Renaissance
c/o Rapid Medical                             PO Box 1709                                 PO Box 8036
120 N Redwood Rd                              Sandpoint, ID 83864-0901                    Wisconsin Rapids, WI 54495-8036
North Salt Lake, UT 84054-2792


Restore America                               Robert Parker                               SLNT
PO Box 147                                    c/o Koskoff Koskoff & Bieder                30 N Gould St, Ste 20647
Grimsley, TN 38565-0147                       350 Fairfield Ave                           Sheridan, WY 82801-6317
                                              Bridgeport, CT 06604-6014


Scarlett Lewis                                Security Bank of Crawford                   Simon & Schuster
c/o Farrar & Ball, LLP                        6688 North Lone Star Parkway                PO Box 70660
1117 Herkimer Street                          PO Box 90                                   Chicago, IL 60673-0660
Houston, TX 77008-6745                        Crawford, TX 76638-0090


SintecMedia NYC, Inc. DBA Operative           Skousen, Joel                               Skyhorse Publishing
PO Box 200663                                 PO Box 565                                  307 West 36th Street, 11th Floor
Pittsburgh, PA 15251-2662                     Spring City, UT 84662-0565                  New York, NY 10018-6592



Sparkletts & Sierra Springs                   Spectrum Enterprise aka Time Warner Cable   Stamps.com
PO Box 660579                                 PO Box 60074                                1990 E Grand Ave.
Dallas, TX 75266-0579                         City of Industry, CA 91716-0074             El Segundo, CA 90245-5013



Stone Edge Technologies, Inc                  Stratus Technologies                        Studio 2426, LLC
660 American Avenue, Suite 204                5 Mill & Main Place, Suite 500              1920 E. Riverside Drive, Suite A120, ï¿½
King of Prussia, PA 19406-4032                Maynard, MA 01754-2660                      Austin, TX 78741-1350
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Synergy North America, Inc                    TD Canada Trust                     Texas Comptroller
11001 W. 120th Avenue, Suite 400              421 7th Avenue SW                   PO Box 13003
Broomfield, CO 80021-3493                     Calgary, AB T2P 4K9, Canada         Austin, TX 78711-3003



Texas Disposal Systems, Inc                   Texas Gas Service                   Textedly
PO Box 674090                                 PO Box 219913                       133 N. Citrus Ave., Suite 202
Dallas, TX 75267-4090                         Kansas City, MO 64121-9913          Los Angeles, CA 90036



The Creative Group                            The Hartford                        The Steam Team, Inc
c/o Robert Half                               PO Box 14219                        1904 W. Koeing Lane
2884 Sand Hill Road, Ste 200                  Lexington, KY 40512-4219            Austin, TX 78756-1211
Menlo Park, CA 94025-7072


Third Coast Graphics, Inc                     Thomas, David                       Travelers
110 Del Monte Dr.                             79 Malone Hill Road                 PO Box 660317
Friendswood, TX 77546-4487                    Elma, WA 98541-9206                 Dallas, TX 75266-0317



Travis County                                 U.S. Legal Support                  Uline Shipping Supply
PO Box 149328                                 PO Box 4772                         12575 Uline Drive
Austin, TX 78714-9328                         Houston, TX 77210-4772              Pleasant Prarie, WI 53158-3686



Vazquez, Valdemar Rodriguez                   Verizon                             Verizon Edgecast
145 Quail Ridge Drive                         PO Box 660108                       13031 West Jefferson Blvd, Building 900
Kyle TX 78640-9788                            Dallas, TX 75266-0108               Los Angeles, CA 90094-7002



Veronique De La Rosa                          Vultr                               WMQM-AM 1600
c/o Kaster Lynch Farrar & Ball LLP            14 Cliffwood Avenue, Suite 300      21 Stephen Hill Road
1117 Herkimer                                 Matawan, NJ 07747-3931              Atoka, TN 38004-7183
Houston, TX 77008-6745


WWCR                                          Waste Connections Lone Star, Inc.   Water Event - Pure Water Solutions
1300 WWCR Avenue                              PO Box 17608                        1310 Missouri St
Nashville, TN 37218-3800                      Austin, TX 78760-7608               South Houston, TX 77587-4537



Watson, Paul                                  Westwood One, LLC                   William Aldenberg
9 Riverdale Road                              3542 Momentum Place                 c/o Koskoff Koskoff & Bieder
Ranmoor Sheffield                             Chicago, IL 60689-5335              350 Fairfield Ave
South Yorkshire S10 3FA                                                           Bridgeport, CT 06604-6014
United Kingdom

William Sherlach                              Willow Grove Productions            Wisconsin Dept. of Revenue
c/o Koskoff Koskoff & Bieder                  1810 Rockcliff Road                 PO Box 3028
350 Fairfield Ave                             Austin, TX 78746-1215               Milwaukee, WI 53201-3028
Bridgeport, CT 06604-6014
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Your Promtional Products, LLC                        Zendesk, Inc                                         Zoom US
133 North Friendswood STE 186                        989 Market Street                                    55 Almaden Blvd, 6th Floor
Friendswood, TX 77546-3746                           San Francisco, CA 94103-1708                         San Jose, CA 95113-1608



eBay                                                 eCommerce CDN, LLC                                   mongoDB Cloud
2025 Hamilton Avenue                                 221 E 63rd Street                                    1633 Broadway
San Jose, CA 95125-5904                              Savannah, GA 31405-4226                              39th Floor
                                                                                                          New York, NY 10019-6757


David Wheeler, et al.                                Leonard Pozner                                       Marcel Fontaine
c/o Cain & Skarnulis PLLC                            c/o McDowell Hetherington LLP                        c/o McDowell Hetherington LLP
303 Colorado Street                                  Attention: Avi Moshenberg                            Attention: Avi Moshenberg
Suite 2850                                           1001 Fannin Street                                   1001 Fannin
Austin, TX 78701-4653                                Suite 2700                                           Suite 2700
                                                     Houston, TX 77002-6774                               Houston, TX 77002-6774
Melissa A Haselden                                   Neil Heslin                                          R. J. Shannon
Haselden Farrow PLLC                                 c/o McDowell Hetherington LLP                        Shannon & Lee LLP
Pennzoil Place                                       Attention: Avi Moshenberg                            700 Milam St., STE 1300
700 Milam                                            1001 Fannin Street                                   Houston, TX 77002-2736
Suite 1300                                           Suite 2700
Houston, TX 77002-2736                               Houston, TX 77002-6774
Raymond William Battaglia                            Scarlett Lewis                                       Shelby A Jordan
Law Offices of Ray Battaglia, PLLC                   c/o McDowell Hetherington LLP
66 Granburg Circle                                   Attention: Avi Moshenberg
San Antonio, TX 78218-3010                           1001 Fannin Street
                                                     Suite 2700
                                                     Houston, TX 77002-6774
Veronique De La Rosa
c/o McDowell Hetherington LLP
Attention: Avi Moshenberg
1001 Fannin Street
Suite 2700
Houston, TX 77002-6774


                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Konica Minolta Premier Finance
PO Box 41602
Philadelphia, PA 19101-1602




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Resistance Manifesto                              End of Label Matrix
                                                     Mailable recipients   165
                                                     Bypassed recipients     1
                                                     Total                 166
